                                  IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                          CHARLOTTE DIVISION
                                          3:07-CR-00277-RJC-DCK
               USA                                        )
                                                          )
                   v.                                     )               ORDER
                                                          )
               DAVID WILLIS                               )
                                                          )

                        THIS MATTER is before the Court on the defendant’s Motion for

              Compassionate Release, (Doc. No. 83), following his request for relief from the

              warden of his institution.

                        Local Criminal Rule 47.1(D) provides that the government is not required to

              respond to pro se motions unless ordered by the Court.

                        IT IS, THEREFORE, ORDERED that the government shall file a response to

              the Motion for Compassionate Release within fourteen (14) days of the entry of this

              Order.



Signed: May 13, 2020




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